                   Case: 1:20-cv-00241-SA-DAS Doc #: 2 Filed: 11/10/20 1 of 1 PageID #: 13

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Southern District
                                                    __________ Districtof
                                                                        ofMississippi
                                                                          __________

                 7,)%6732 ,%9+,832                                   )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )                           3:20-cv-723-HTW-LRA
                                v.                                           Civil Action No.
                                                                     )
    .%'3*33(7 -2' HFE 732-' (6-:)-2s7                         )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) .%'3 *33(7 -2' HFE 732-' (6-:)-2s7
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                                           'SPYQFYW 17 




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: 7 'VEMK 4ERXIV
                                           4ERXIV 0E[ *MVQ 400'
                                            3PH 'ERXSR 6SEH 7YMXI &
                                           1EHMWSR 1MWWMWWMTTM 



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                 Arthur Johnston
                                                                                 CLERK OF COURT


Date:       11/10/2020
                                                                                          Signature of Clerk or Deputy Clerk
